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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 ERLINDA MONCADA,

        Plaintiff,

 v.                                                       Case No:

 OCWEN LOAN SERVICING,
 LLC,
                                                          DEMAND FOR JURY TRIAL
       Defendant.
 _____________________________/


                             PLAINTIFF’S COMPLAINT
                         WITH INJUNCTIVE RELIEF SOUGHT

        COMES NOW, Plaintiff, ERLINDA MONCADA (“Mrs. Moncada” or

 “Plaintiff”), by and through the undersigned counsel, and hereby sues and files this

 Complaint and Demand for Jury Trial with Injunctive Relief Sought against Defendant,

 OCWEN LOAN SERVICING, LLC (“Defendant”), and in support thereof states as

 follows:

                                           Introduction

        1.      This action arises out of an alleged “Debt” or “Consumer Debt” as defined

 by Fla. Stat. § 559.55 (6) and Defendant’s violations of the Fair Debt Collection Practices

 Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”) and the Florida Consumer Collection Practices

 Act, Fla. Stat. § 559.72 et. seq. (“FCCPA”), in attempting to collect such Debt by

 misrepresenting that Mrs. Moncada owes an alleged debt when Defendant knows that

 such Debt was discharged in Mrs. Moncada’s Bankruptcy in 2009 and when Defendant



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 knows that Mrs. Moncada has previously sued Defendant for such misrepresentations in

 connection with collection of the same alleged Debt, which can reasonably be expected to

 harass Mrs. Moncada.

                                      Jurisdiction and Venue

         2.      This Court has subject matter jurisdiction over the instant case arising

 under the federal question presented in the FDCPA pursuant to 28 U.S.C. § 1331.

         3.      Venue lies in this District pursuant to 28 U.S.C. § 1391 (b) and 15 U.S.C.

 § 1692k (d) and Fla. Stat. § 559.77 (1), as a substantial part of the events or omissions

 giving rise to the claims occurred in this judicial district.

                                                Parties

         4.      Plaintiff, Ms. Moncada, was and is a natural person and, at all times

 material hereto, is an adult, a resident of Hillsborough County, Florida, a “consumer” as

 defined by 15 U.S.C. § 1692a(3), and a “debtor” or “consumer” as defined by Fla. Stat. §

 559.55(8).

         5.      At all times material hereto, Defendant was and is a foreign limited

 liability corporation with its principle place of business in the State of Delaware and its

 registered agent, Corporation Service Company, located at 1201 Hays Street, Tallahassee,

 FL 32301.

         6.      At all times material hereto, Defendant is a “Debt Collector” as defined by

 Fla. Stat. § 559.72 (7) and 15 U.S.C. § 1692a (6).




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                                         Statements of Fact

        7.       On or around May of 2006, Ms. Moncada executed and delivered a note

 and mortgage (collectively “Mortgage”) that was secured by property located at 512

 Swann Range Road, Orange City, Florida 32763 (“Property”).

        8.       Thereafter, Ms. Moncada encountered financial difficulty and fell behind

 on her monthly installment payments towards the Mortgage.

        9.       On or around September 2, 2007, Ms. Moncada’s Mortgage fell into

 default.

        10.      On or around October 13, 2009, Ms. Moncada filed for Chapter 7

 bankruptcy relief (“Bankruptcy Case”). See M.D. Fla. Case No: 8:09-bk-23159-KRM.

        11.      Ms. Moncada included the Property and all mortgage investor interests

 (collectively “Mortgage Owner”) relevant thereto in the Bankruptcy Case.

        12.      On or around March 17, 2010, the Court issued an order granting Ms.

 Moncada a discharge in the Bankruptcy Case (“Discharge Order”). See Exhibit A.

        13.      The Discharge Order terminated any rights that the Mortgage Owners and

 any purported assignee of the Mortgage thereafter, including Defendant, had against Ms.

 Moncada with respect to the underlying Mortgage debt (“Debt”).

        14.      The original Mortgage Owner, American Home Mortgage, Inc., received

 notice of the Discharge of Debtor. See Exhibit B.

        15.      Thereafter, the Mortgage Owners from the Bankruptcy Case transferred,

 assigned, and/or sold the Debt and/or the servicing rights of the Mortgage to Defendant.




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        16.       Under information and belief, Defendant obtained ownership of, or rights

 to the Mortgage after the mortgage went into default and the Debt was discharged in

 Bankruptcy.

        17.       At all times relevant hereto, Defendant had actual knowledge that Ms.

 Moncada was the debtor in a Chapter 7 Bankruptcy Case, that she was granted the

 discharge in that case, and that she was subsequently protected from any direct or indirect

 collection acts whatsoever by virtue of the injunction provided under applicable

 Bankruptcy law, specifically 11 U.S.C. § 524.

        18.       Defendant had actual knowledge of the fact that the Debt had been

 discharged in Ms. Moncada’s Bankruptcy Case because Defendant had access to all

 records of the original Mortgage Owner, American Home Mortgage, Inc., concerning the

 account, including but not limited to the records of the Bankruptcy Case, and all papers

 that were transferred to Defendant at the time of the acquisition of the Mortgage from the

 Mortgage Owners.

        19.       Under information and belief, Defendant had actual knowledge of the fact

 that the Debt had been discharged in Ms. Moncada’s Bankruptcy Case because the

 original Mortgage Owner, American Home Mortgage, Inc., advised Defendant of this

 circumstance upon Defendant becoming servicer.

        20.       At no time has the Debt been declared to be non-dischargeable in

 bankruptcy.

        21.       At no time has Ms. Moncada reaffirmed the subject Debt.




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        22.      Despite Ms. Moncada no longer being personally responsible for the Debt

 pursuant to the Discharge Order and Defendant’s knowledge of that fact, Defendant

 continued to communicate with Ms. Moncada in attempts to collect the Debt.

        23.      Accordingly, in December of 2017, Ms. Moncada filed suit against

 Defendant alleging that Defendant’s continued collection activity violated Ms.

 Moncada’s rights under the TCPA, FDCPA, and FCCPA. See M.D. Fla. Case no. 8:14-

 cv-03118-VMC-TBM (“First Harassment Lawsuit”).

        24.      On or around May 24, 2018, Ms. Moncada voluntarily dismissed her First

 Harassment Lawsuit against Defendant.

        25.      Despite Defendant’s knowledge that Ms. Moncada did not owe the Debt

 pursuant to the Discharge Order and even after Ms. Moncada sued Defendant for its

 illegal debt collection activities, Defendant has still continued to communicate with Ms.

 Moncada in connection with collection of the Debt after May 24, 2018.

        26.      Specifically, in or around July 2018, Defendant began mailing collection

 letters to Ms. Moncada again in attempts to collect the Debt.

        27.      On or around July 9, 2018, Defendant sent a collection letter directly to

 Ms. Moncada in connection of the discharged Debt (“Collection Letter 1”). See Exhibit

 C.

        28.      Collection Letter 1 was individually addressed to Ms. Moncada, listed the

 Property address, a Due Date of “Due Now,” a total amount due of $286,496.11, a

 reinstatement amount of $75,481.64, past due fees/other charges of $11,442.16, a

 statement that “this is an attempt to collect the debt and any information will be used for



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 that purpose,” and options for payment including pay by phone, pay online, or pay by

 mail using the payment coupon included therein. See Exhibit C.

        29.      On or around September 17, 2018, Defendant sent another collection letter

 directly to Ms. Moncada in connection of the discharged Debt (“Collection Letter 2”).

 See Exhibit D.

        30.      Collection Letter 2 was individually addressed to Ms. Moncada, listed the

 Property address, a Due Date of “Due Now,” a total amount due of $269,589.63, a

 reinstatement amount of $49,911.67, past due fees/other charges of $8,832.44, a

 statement that “this is an attempt to collect the debt and any information will be used for

 that purpose,” and options for payment including pay by phone, pay online, or pay by

 mail using the payment coupon included therein. See Exhibit D.

        31.      On or around October 17, 2018, Defendant sent yet another collection

 letter directly to Ms. Moncada in connection of the discharged Debt (“Collection Letter

 3”). See Exhibit E.

        32.      Collection Letter 3 was individually addressed to Ms. Moncada, listed the

 Property address, a Due Date of “Due Now,” a total amount due of $270,800.10, a

 reinstatement amount of $50,735.37, past due fees/other charges of $8,469.16, a

 statement that “this is an attempt to collect the debt and any information will be used for

 that purpose,” and options for payment including pay by phone, pay online, or pay by

 mail using the payment coupon included therein. See Exhibit E.

        33.      On November 9, 2018, Defendant sent a collection letter directly to Ms.

 Moncada stating that, “IMMEDIATE ACTION IS REQUIRED IF PROOF OF



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 EXISTING COVERAGE CAN BE SHOWN” and demanding that Ms. Moncada

 purchase hazard insurance for the Property or else Defendant will purchase its own

 insurance that will cost Ms. Moncada $2,650.00 annually (“Collection Letter 4”). See

 Exhibit F.

        34.       On or around November 19, 2018, Defendant sent a collection letter

 directly to Ms. Moncada in connection of the discharged Debt (“Collection Letter 5”).

 See Exhibit G.

        35.       Collection Letter 5 was individually addressed to Ms. Moncada, listed the

 Property address, a Due Date of “Due Now,” a total amount due of $272,097.79, a

 reinstatement amount of $51,559.06, past due fees/other charges of $8,469.16, a

 statement that “this is an attempt to collect the debt and any information will be used for

 that purpose,” and options for payment including pay by phone, pay online, or pay by

 mail using the payment coupon included therein. See Exhibit G.

        36.       On December 4, 2018, Defendant sent a collection letter directly to Ms.

 Moncada stating that, “IMMEDIATE ACTION IS REQUIRED IF PROOF OF

 EXISTING COVERAGE CAN BE SHOWN” and demanding that Ms. Moncada

 purchase hazard insurance for the Property or else Defendant will purchase its own

 insurance that will cost Ms. Moncada $2,650.00 annually (“Collection Letter 6”). See

 Exhibit H.

        37.       On or around December 17, 2018, Defendant sent a collection letter

 directly to Ms. Moncada in connection of the discharged Debt (“Collection Letter 7”).

 See Exhibit I.



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        38.      Collection Letter 7 was individually addressed to Ms. Moncada, listed the

 Property address, a Due Date of “Due Now,” a total amount due of $273,297.66, a

 reinstatement amount of $52,382.75, and past due fees/other charges of $8,469.16, a

 statement that “this is an attempt to collect the debt and any information will be used for

 that purpose,” and options for payment including pay by phone, pay online, or pay by

 mail using the payment coupon included therein. See Exhibit I.

        39.      On or around January 17, 2019, Defendant sent a collection letter directly

 to Ms. Moncada in connection of the discharged Debt (“Collection Letter 8”). See

 Exhibit J.

        40.      Collection Letter 8 was individually addressed to Ms. Moncada, listed the

 Property address, a Due Date of “Due Now,” a total amount due of $276,372.04, a

 reinstatement amount of $53,206.44, and past due fees/other charges of $8,469.16, a

 statement that “this is an attempt to collect the debt and any information will be used for

 that purpose,” and options for payment including pay by phone, pay online, or pay by

 mail using the payment coupon included therein. See Exhibit J.

        41.      Defendant send Collection Letters 1-8 (all collectively “Collection

 Letters”) to Mrs. Moncada in attempts to collect the Debt.

        42.      As evidence of Defendant’s pattern or practice of violating consumer

 rights, on April 20, 2017, the Consumer Financial Protection Bureau brought an action

 against Defendant for multiple consumer rights violations including allegations relevant

 to this complaint that Defendant serviced loans using error-riddled information, illegally

 foreclosed on homeowners, mishandled hazard insurance, and failed to adequately



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 investigate and respond to borrower complaints. Consumer Financial Protection Bureau

 v. Ocwen Financial Corporation, Inc. et al, No: 9:17-cv-80495-KAM, (S.D. Fla. Apr. 20,

 2017). See Exhibit K.


        Count 1: Violation of the Fair Debt Collection Practices Act (“FDCPA”)

        43.      Mrs. Moncada re-alleges paragraphs 1-42 and incorporates the same

 herein by reference.

        44.      Mrs. Moncada is a “consumer” within the meaning of the FDCPA.

        45.      The subject debt is a “consumer debt” within the meaning of the FDCPA.

        46.      Defendant is a “debt collector” within the meaning of the FDCPA.

        47.      Defendant violated the FDCPA. Defendant’s violations include, but are

 not limited to, the following:

              a. Defendant violated 15 U.S.C. § 1692e(2)(A) by falsely

                 representing the legal status of the Debt as still personally owed by

                 Mrs. Moncada and not discharged pursuant to the Discharge Order

                 in Ms. Moncada’s Bankruptcy Case when it sent her the Collection

                 Letters.

              b. Defendant violated 15 U.S.C. § 1692e(2)(A) by misrepresenting

                 the right to charge Ms. Moncada for hazard insurance.

              c. Defendant violated 15 U.S.C. § 1692e(10) by sending Ms.

                 Moncada the Collection Letters in attempt to collect the Debt and

                 falsely representing the legal status of the Debt as not discharged

                 pursuant to the Discharge Order in Ms. Moncada’s Bankruptcy


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                    when it sent her the Collection Letters and Hazard Insurance

                    Letter.

                 d. Defendant violated 15 U.S.C. § 1692f(1) by attempting to collect

                    the Debt that Defendant knew was not permitted by law to collect

                    pursuant to the Discharge Order.

          48.       As a result of the above violations of the FDCPA, Mrs. Moncada has been

   subjected to illegal collection activities for which she has been damaged.

          49.       Defendant’s actions have harmed Ms. Moncada by causing her stress

   because its Collection Letters were sent in an attempt to collect the Debt that Ms.

   Moncada no longer owes by virtue of the Discharge Order.

          50.       Defendant’s actions have harmed Ms. Moncada by violating her individual

   right to not owe the Debt by virtue of the Discharge Order.

          51.       Defendant’s actions have harmed Ms. Moncada by violating her statutory

   right to not receive deceitful information from Defendant in an attempt to collect an

   uncollectible Debt.

          52.       Defendant’s actions have harmed Ms. Moncada by violating her statutory

   right to not receive misrepresentations as to the legal status of the Debt from Defendant.

          53.       Defendant’s actions have harmed Ms. Moncada by violating her statutory

   right to not be contacted about a Debt that was discharged by the Discharge Order.

          54.       Defendant’s actions have harmed Ms. Moncada by harming her

   reputation.




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            55.      Defendant’s actions have harmed Ms. Moncada by causing her

   embarrassment.

            56.      Defendant’s actions have harmed Ms. Moncada by invading her privacy.

            57.      Defendant’s actions have harmed Ms. Moncada by being a nuisance and

   causing her aggravation.

            58.      Defendant’s actions have harmed Ms. Moncada by causing her emotional

   distress.

            59.      Defendant’s actions have harmed Ms. Moncada by causing her to lose

   sleep.

            60.      It has been necessary for Ms. Moncada to retain the undersigned counsel

   to prosecute the instant action, for which she is obligated to pay a reasonable attorney’s

   fee.

            61.      All conditions precedent to this action have occurred.

            WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

   against Defendant as follows:

                     a. Awarding statutory damages as provided                       by 15 U.S.C. §

                         1692k(a)(2)(A);

                     b. Awarding actual damages;

                     c. Awarding costs and attorneys’ fees; and

                     d. Any other and further relief as this Court deems just and equitable.



          Count 2: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)



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          62.      Mrs. Moncada re-alleges paragraphs 1-42 and incorporates the same

   herein by reference.

          63.      Defendant violated the FCCPA. Defendant’s violations include, but are

   not limited to, the following:

                a. Defendant violated Fla. Stat. § 559.72(7) by sending the Collection

                   Letters directly to Ms. Moncada when Defendant knew that Mrs.

                   Moncada no longer owed the Debt by virtue of Discharge Order

                   and when Defendant knew that Ms. Moncada had previously sued

                   Defendant for its illegal collection activity, which can reasonably

                   be expected to annoy, abuse, and harass Ms. Moncada.

                b. Defendant violated Fla. Stat. § 559.72(9) by misrepresenting the

                   legal status of the Debt as still personally owed by Ms. Moncada

                   not discharged pursuant to the Discharge Order in Ms. Moncada’s

                   Bankruptcy when it sent her the Collection Letters.

                c. Defendant violated Fla. Stat. § 559.72(9) by misrepresenting the

                   right to charge Ms. Moncada for hazard insurance.

          64.      As a result of the above violations of the FCCPA, Mrs. Moncada has been

   subjected to unwarranted and illegal collection activities and harassment for which she

   has been damaged.

          65.      Defendant’s actions have harmed Ms. Moncada by causing her stress

   because its Collection Letters were sent in an attempt to collect the Debt that Ms.

   Moncada no longer owes by virtue of the Discharge Order.



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            66.      Defendant’s actions have harmed Ms. Moncada by violating her individual

   right to not owe the Debtb y virtue of the Discharge Order.

            67.      Defendant’s actions have harmed Ms. Moncada by violating her statutory

   right to not receive deceitful information from Defendant in an attempt to collect an

   uncollectible Debt.

            68.      Defendant’s actions have harmed Ms. Moncada by violating her statutory

   right to not receive misrepresentations as to the legal status of the Debt from Defendant.

            69.      Defendant’s actions have harmed Ms. Moncada by violating her statutory

   right to not be contacted about a Debt that was discharged by the Discharge Order.

            70.      Defendant’s actions have harmed Ms. Moncada by harming her

   reputation.

            71.      Defendant’s actions have harmed Ms. Moncada by causing her

   embarrassment.

            72.      Defendant’s actions have harmed Ms. Moncada by invading her privacy.

            73.      Defendant’s actions have harmed Ms. Moncada by being a nuisance and

   causing her aggravation.

            74.      Defendant’s actions have harmed Ms. Moncada by causing her emotional

   distress.

            75.      Defendant’s actions have harmed Ms. Moncada by causing her to lose

   sleep.




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          76.      It has been necessary for Mrs. Moncada to retain the undersigned counsel

   to prosecute the instant action, for which she is obligated to pay a reasonable attorney’s

   fee.

          77.      All conditions precedent to this action have occurred.

          WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

   against Defendant as follows:

                   a. Awarding statutory damages as provided by Fla. Stat. § 559.77;

                   b. Awarding actual damages;

                   c. Awarding punitive damages;

                   d. Awarding costs and attorneys’ fees;

                   e. Ordering an injunction preventing further wrongful contact by the

                        Defendant; and

                   f. Any other and further relief as this Court deems just and equitable.

                   g.

                                   DEMAND FOR JURY TRIAL

          Plaintiff, Erlinda Moncada, demands a trial by jury on all issues so triable.

    Respectfully submitted this February 28, 2019,

                                                      /s/ Michael A. Ziegler
                                                      Michael A. Ziegler, Esq.
                                                      Florida Bar No. 74864
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